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AG 245B (Rev. 05/15/2018) Judgment in a Criminal Petty Case (Modified)

UNITED STATES DISTRICT COURT,
SOUTHERN DISTRICT OF CALIFORNIA

United States of America JUDGMENT IN
Vv, (For Offenses Committed On or After

Roberto Carlos Puga-Hernandez Case Number: 21¢r0927-KSC

Samantha BE. Jaffe

Defendant's Attorney

REGISTRATION NO, 32858509

THE DEFENDANT:

1 pleaded guilty to count(s) 1 of the Information
CL] was found guilty to count(s)
after a plea of not guilty.

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Title & Section Nature of Offense Count Number(s)
8:1325 (a}(1) IMPROPER ENTRY (Misdemeanor) l

L] The defendant has been found not guilty on count(s)

Couni(s) 2 of the Information dismissed on the motion of the United States,

 

IMPRISONMENT
3 MONTHS
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:

XX Assessment: $10 WAIVED

Fine: WAIVED

&) Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
the defendant’s possession at the time of arrest upon their deportation or removal.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

May 12, 2021
Date of Imposition of Sentence

 

 

HONORABLE KAREN 8S. CRAWFORD
UNITED STATES MAGISTRATE JUDGE
